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                                                                            MAY 1 7 2023
                         UNITED STATES DISTRICT COURT
                                                                                            fJL
                            DISTRICT OF SOUTH DAKOTA

                                   NORTHERN DIVISION


UNITED STATES OF AMERICA,
                                                           1:22-CR-10031-CBK
                      Plaintiff,

       vs.
                                                  ORDER ADOPTING REPORT AND
TUJUANCE LEND LOWRY,                            RECOMMENDATION AND ORDER ON

                      Defendant.                    ORAL MOTION TO SUPPRESS



                                    INTRODUCTION

      Defendant orally moved to suppress a December 2022, letter he sent to a state
courtjudge and recorded statements he made on December 27, 2022, while he was a state
court pretrial detainee, to Aberdeen Police Sergeant Mark Miller in connection with the
investigation of a complaint made against another officer. The statements are at Docs 45-
1 and 50 (sealed). The motion came on for a hearing before Magistrate Judge Mark A.
Moreno.

                                       DECISION

I. Oral Statements.

      Magistrate Moreno issued a report and recommendation finding that the
statements made orally were made in violation of defendant's Sixth Amendment right to
have counsel present during custodial interrogation. Magistrate Moreno recommended
that the motion to suppress be granted as to the statements made but concluded the
statements were voluntary and admissible for impeachment purposes. Defendant does
not object to this portion ofthe report and recommendation.
      I adopt the report and recommendation as to the admissibility ofthe oral
statements made. However,I find that any evidence that the statement was made in
connection with an investigation of alleged police misconduct is inadmissible as not
relevant and contrary to Fed. R,Evid. 403. The defendant's recorded statements are
random and diffieult to follow. However, he did state "I know I'm a convicted felon. I
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